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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BECKLEY

BRIAN ARDEN RICHMOND,

     Petitioner,

v.                                          CIVIL ACTION NO. 5:03-0076
                                     CRIMINAL ACTION NO. 5:99-00239-01

UNITED STATES OF AMERICA,

     Respondent.

                           MEMORANDUM OPINION

     Pursuant to the court’s judgment order of February 24, 2006,

in which the court overruled both petitioner’s objections to

Magistrate Judge R. Clarke VanDervort’s Proposed Findings and

Recommendation [hereinafter “Findings and Recommendation” or “F &

R”], confirmed and accepted the F & R, and indicated that an

explanatory memorandum opinion would follow forthwith, the court

now issues its Memorandum Opinion.

     The court has conducted a de novo review of the record.                 On

March 7, 2000, Brian Arden Richmond (“Richmond”) appeared before

the Honorable Charles H. Haden II, Chief United States District

Judge, and pled guilty to Count One of a ten-count indictment

charging him and co-defendants with conspiracy with intent to

distribute marijuana and cocaine in violation of 21 U.S.C. § 846.

(See Doc. Nos. 1, 87-88, 100.)       Richmond was sentenced on May 22,

2000, to a 189-month term of imprisonment, a 5-year term of

supervised release, and a $1,000.00 fine.             (See Doc. No. 129.)
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The remaining counts of the indictment were then dismissed on

motion of the United States.           (Id.)

     Richmond appealed the district court’s denial of a downward

departure in his sentence for acceptance of responsibility

because the court did not cite any guideline criteria, but the

Fourth Circuit affirmed his sentence by unpublished decision.

See United States v. Richmond, 2001 WL 929877 (4th Cir. Aug 16,

2001).

     On January 29, 2003, Richmond filed his petition under 28

U.S.C. § 2255, raising four grounds for relief.                (See Doc. No.

234 at 10-26.)        Among these, Richmond noted that (1) the

government did not establish by a preponderance of the evidence

the relevant drug quantity; (2) that he was sentenced on

inaccurate information; (3) that the sentencing court incorrectly

denied him a downward departure for acceptance of responsibility;

and (4) that his sentencing and appellate counsel were

ineffective.    (Id.)      The United States has filed a response to

Richmond’s petition on September 25, 2005.               (See Doc. No. 250.)

In this response, the United States noted that Richmond’s

conviction was proper and that the grounds he was attempting to

raise were invalid.

     On February 2, 2006, the Magistrate Judge entered his

Proposed Findings and Recommendations (Doc. No. 292).                 In his

findings and recommendation, the magistrate judge recommended


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dismissing petitioner’s petition because his claims were without

merit.    Richmond filed an objection to the magistrate judge’s

findings on February 16, 2006 (Doc. No. 294).             Having reviewed

his conclusions and petitioner’s objections to them, for the

reasons below, the court agrees with the findings of the

magistrate judge.

        1.   Objections to the Court’s Referral of this Matter to
        Magistrate Judge VanDervort

        Richmond’s first objection is that the court’s referral of

this matter to Magistrate Judge VanDervort was improper.                (See

Doc. No. 294 at 2.)      Richmond notes that 28 U.S.C. § 636(b)(1)(B)

does not give federal magistrate judges the authority to correct

decisions of judge such as those for federal district courts

appointed pursuant to Article III of the United States

Constitution.    (Id.)    As such, Richmond desires that this court

conduct a full review of this case itself, without the assistance

of a magistrate judge.      (Id.)

        Petitioner is advised that federal magistrate judges

routinely handle cases filed under 28 U.S.C. § 2255, subject to

the de novo review of the district court.             28 U.S.C.

§ 636(b)(1)(B), quoted by Richmond on the second page of his

latest brief, gives the magistrate judge the authority to prepare

proposed findings of fact such as the one he prepared in this

case.    Preparing these findings does not cause the magistrate

judge to be “engag[ed] in the criminal practice of law” as

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Richmond suggests, or make him “co-counsel for the A.U.S.A.”

(See id. at 2.)       When the magistrate judge prepared his proposed

findings and recommendation, he was doing so by Order of this

court.     (See Doc. No. 237.)    He did nothing improper.           As such,

Richmond’s first objection is hereby OVERRULED.

      2.     Petitioner’s Objection Regarding Judicial Factfinding

      Richmond’s next objections focus around the court’s

determination under the United States Sentencing Guidelines.

(See, e.g., Doc. No. 294 at 15.)         Petitioner contends that his

guilty plea was not voluntary and intelligent because he was not

aware that sentencing factors included in his Pre-sentence

Investigation were “elements” of his criminal offense.                 (Id. at

7.)   Petitioner notes that the Sentencing Guidelines also include

facts which heightens the liability to which he could be exposed.

(Id. at 15.)    He notes that judicial fact finding resulted in him

being exposed to a penalty of 189 months.              (Id. at 19.)

      As the magistrate judge noted, the Fourth Circuit examined

the propriety of Richmond’s sentencing upon appeal.                (See Doc.

No. 292 at 12) (discussing United States v. Richmond, 2001 WL

929877, at *4 (4th Cir. Aug. 16, 2001), cert. denied, 534 U.S.

1116 (2002).    Given that these issues were reviewed on direct

appeal, Richmond is barred from raising them again.                See

Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir.




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1976).    As such, petitioner’s second objection is hereby

OVERRULED.

     3.      Petitioner’s Objection Regarding Apprendi / Blakely
             Issues

     In his objections, Richmond directly questions the

magistrate judge’s recommendation regarding Richmond’s claims

being invalid under Blakely v. Washington, 542 U.S. 296 (2004)

and Apprendi v. New Jersey, 530 U.S. 466, 490 (2000). In Blakely,

the later of these two cases, the Supreme Court held that

“[o]ther than the fact of a prior conviction, any fact that

increases the penalty for a crime beyond the prescribed statutory

maximum must be submitted to a jury, and proved beyond a

reasonable doubt.”     Blakely, 542 U.S. at 301.         Here, as the

magistrate judge found in his proposed finding and

recommendation, petitioner had no argument under Blakely and

Apprendi because his sentence under both the charge under 21

U.S.C. § 846 was under the statutory maximum for each offense.

(See Doc. No. 292 at 16.)      Such, neither decision was violated.

     Because Richmond’s sentence does not exceed the statutory

maximum, it does not violate Blakely and Apprendi.             Insofar his

objections contain any objection contrary to this finding, it is

hereby OVERRULED.




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     4.    Conclusion

     For the reasons outlined herein, in a Judgement Order to be

filed forthwith, petitioner’s objections are overruled.

     The Clerk is directed to forward a copy of this Memorandum

Opinion to the petitioner, pro se, and to all counsel of record.

     IT IS SO ORDERED this 27th day of February, 2006.

                                                ENTER:



                                                 David A. Faber
                                                 Chief Judge




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